AO 442 (Rev.0l/09) ArrestWarrant



                                      UNrrBo SrarBs Drsrrucr Counr
                                                              for the
                                                       District of Columbia

                  United States of America                             Ml è l-ômÀ-^N
                                                                      Case: 1:21-mj-00219
                              v                                 )     Assigned to: Judge Faruqui, Zia M
                       KariDawn Kelley                          )     Assign Ðale:211012021
                                                                )     Description: COMPLAI NT WARREST WARRANT
                                                                )
                                                                )
                          Defendant


                                                     ARREST WARRANT
To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before              a United States magistrate judge without unnecessary delay
(name   of person to be arrested) Kari Dawn Kelley
who is accused of an offense or violation based on the following document fìled with the court:

il Indictment Û Superseding Indictment ft Information I Superseding Information ú Complaint
n Probation Violation Petition il Supervised Release Violation Petition ilViolation Notice Í Order of the Court
This offense is briefly described as follows:
 Title 18 U.S.C. $$ 1752(a)(1) and (2), Restricted Buitdings or Grounds
 Title 40 U.S.C. $$ 5104(e)(2)(D) and (G), UnlawfulActivities on Capitol Grounds; Disorderly Conduct; Parading and
  Demonstrating in the Capitol Building




Date:     O2l1Ol2O21                                                                M    I s su ing oftìcer's
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City and state:      Washinqton, D.C                                       United States Magistrate Judoe Zia M Faruqui
                                                                                           Printed name and title


                                                            Return

         This warrant was received on    @arc)                       , and the person was arrested on (date)
at (cþ and state)


Date:
                                                                                       Arresting oficer's           si gnature




                                                                                           Printed name and title
